
ON PETITION FOR REHEARING.
Wilson, J.
Upon the petition for rehearing counsel for the city insist that whatever may be the construction of section 11, of the city ordinance quoted in the opinion of the court as applicable to the case at bar, the defendant was guilty under the terms of section 12, and to this the court has not given proper consideration. In our opinion, in reason and under all rules of construction, section 11 and the first part of section 12, which is alone applicable to the facts in this case, are supplements of each other. Both are intended to suppress the *43same evil, and they should be construed together. Section 11 prohibits the keeping, in connection with or as a part of a dram shop or tippling house, any wine room or other place into which a -female shall be permitted to enter and there be supplied with liquor. To constitute an offense under this section, two things must concur. (1) The dram shop keeper must have or keep in connection with or as a part of his dram shop a wine room or other place in which liquors are to be supplied. (2) The supplying a female in such place with liquor. It is not sufficient, alone, that a place shall be kept in connection with or as a part of such dram shop in which liquor may be sold or served, but, to constitute a violation of the section, a female must be supplied with liquor in such place. Nor is there any prohibition to the supplying of liquor to a female from the saloon, if it be not supplied in such a “ place ” as described in the ordinance. A female, for instance, might enter the saloon proper, and be supplied at the bar with liquor, as any other person, and it would be no violation of this section. This, manifestly, was not sufficient to suppress the evil intended, namely, the frequenting of saloons by females, and the attendant results so offensive to decency and the moral sense of the public; and, therefore, section 12 was enacted, going still a step further. This prohibits the permitting of any female in the saloon proper for the purpose of being supplied with liquor ; and also bearing' in mind that this might be evaded by the maintenance of some other place or room adjacent to, or easily accessible therefrom, and maintained for the purpose of furthering the business of the dram shop, it includes in its prohibition “ other place,” but qualifies it by adding the words “ where intoxicating or malt liquors are sold or given away.” The section surely does not refer to parties selling or giving away liquors without any saloon license whatever. Offenses of this kind could be readily reached by an arrest of the party for selling liquor without license. It must clearly refer only to rooms or places so adjacent to or accessible from the saloon proper, that they may be termed and are intended to be part of and *44adjunct to the dram shop for the sale of liquors for which the owner has a license. The sale to men in such place would be covered by the license, and would not be in violation of the ordinance. Suppose, as in the Walker case, the family of the proprietor of the dram shop should reside in the same building, and that in a single instance he should supply liquor to a female visitor of his family in their living rooms, surely it could not be contended that this was a violation of either one of the sections in question. In this case, it could not be said upon this state of facts, alone, the living room was used as an adjunct to or part of the dram shop for use for the sale of liquors. If, of course, this was done to an extent that would justify the reasonable conclusion that this was simply an attempted evasion of the law, and that such room was really being used as an adjunct to or part of the dram shop proper, it would present a different question. Suppose a dram shop keeper was engaged in five or six different occupations under the same roof, but in different rooms, all others being entirely distinct from the dram shop business, could it be reasonably contended that the supplying of liquor to a female in one of the other rooms, where a business entirely different from and disconnected with the dram shop business was carried on, would be a violation of this statute ? There might arise a question as to whether there had been a sale of liquor without license, if it was a sale. If section 12 be construed as contended for by the plaintiff, a mere gift of liquor to a female in such “ other place,” even though it be entirely disconnected with the saloon proper so far as its business was concerned, would be a violation of the ordinance. It will be observed that section 12 is quite far-reaching. It does not require to constitute the offense that there shall be a sale of liquor to the female, but the offense is committed if the female is permitted to be or remain in the prohibited place for the purpose of being supplied with liquor. The 'evident object of this was to prevent any evasion of the law. Under section 11, before a conviction could be had, it must be shown that a female, although in the prohibited place, *45was supplied with liquor. This might be very difficult at times to show. Therefoie, section 12 provides, that if a female is permitted in the prohibited place for the purpose of being supplied with liquor, the offense is complete. If such place is kept as an adjunct to and a part of the dram shop proper, for the purpose of facilitating and carrying on its business, the mere presence therein of females, although not caught in the act of being supplied with liquor, or of drinking liquor, would be, nevertheless, very strong evidence that they were there, and permitted there, for the purpose of being so supplied. The circumstances and surroundings might be such as to furnish sufficiently strong evidence to secure a conviction, although, as we have said, the actual supplying of the liquor could not be proved. Sections 11 and 12 are a part of the same ordinance, and refer to the same subject, namely, the frequenting of dram shops by females; and under every rule of statutory construction, in order to arrive at the intent of the legislative power, they must be construed together. We think, therefore, there is no question that the words “other place” where used in either section refer, and refer only, to some place maintained by the dram shop keeper as an adjunct to, and part of his dram shop. The contention that the construction which we have given to these sections would open wide the door for evasion of the ordinance, render the city powerless to suppress the evil sought to be crushed and make possible a carnival of indecency is, we think, wholly unfounded and, in any event, without weight. We are not attempting a general construction of the ordinance. Only one case is before us, and we are construing the ordinance only with reference to its application to the particular facts of this case — the facts stipulated by the city which is now the party complaining. We agree that the ordinance is a good one; that its objects are most praiseworthy, and that its rigid enforcement would meet with the approval of every good citizen. In the case at bar, we simply say that the facts, as set forth in the agreed statement, do not bring the case within the prohibí*46tion of the law. If the city was misled in the stipulation of facts, this court is not responsible, and, among these facts, it was stipulated by the city that the place where the alleged offense was committed was kept and used solely for the legitimate purposes of a restaurant. This concession excludes the idea that the room was kept as an adjunct to or part of the dram shop or for the sale of liquors. The fact that its, owner happened also to be the owner of a dram shop under the same roof, but not connected with it in such a sense as intended by the ordinance, cannot constitute the offense. If the opinion of this court shall direct attention to any defects in the ordinance, it will, to this extent at least, despite the direful predictions of counsel, subserve a good purpose. The city council which exercises the legislative power vested in the municipality may readily amend the ordinance in such a manner as to make it more effective, more stringent, and to prevent all possible evasions.
The petition for a rehearing is denied.

Denied.

